               Case 1:17-cv-00914-JEO Document 4 Filed 08/03/17 Page 1 of 1                             FILED
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                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ALABAMA
                                    EASTERN DIVISION

CHELSEA GENTRY,                                )
                                               )
          Plaintiff,                           )
                                               )
v.                                             )       CASE NO 1:17-cv-00914-JEO
                                               )
HIGHLAND HEALTH SYSTEMS,                       )
                                               )
          Defendant.                           )

                                           FINAL ORDER

        This matter is before consideration of this Court upon the parties “Joint Stipulation of
Dismissal With Prejudice.” (Doc. 3). Upon consideration, it is ORDERED AND ADJUDGED
that:
          1.      This action be and same is hereby dismissed against the defendant with prejudice;
          2.      The court shall retain jurisdiction for purposes of enforcing the settlement
                  agreement entered into between the parties; and
          3.      Except as set forth in the settlement agreement, all parties shall bear their own
                  attorneys’ fees and costs.


DONE, this the 3rd day of August, 2017.



                                               _________________________________
                                               JOHN E. OTT
                                               Chief United States Magistrate Judge




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